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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

     UNITED STATES OF AMERICA                    )
                                                 )
                              v.                 )   Criminal No.: 19-10080-NMG
                                                 )
        GAMAL ABDELAZIZ et al.,                  )   Leave to File Exhibits Under Seal
                                                 )   Granted on September 7, 2021 (Dkt. 2159)
                     Defendants                  )

           GOVERNMENT’S RESPONSE TO DEFENDANTS’ MOTION FOR
            RECONSIDERATION ON WITNESS IMMUNITY [DKT. 2156]

       From the outset of this case, the defendants have made one baseless claim of prosecutorial

misconduct after another, against multiple Assistant United States Attorneys.         As trial has

approached, the tempo of these claims has accelerated. It must stop.

       The defendants’ latest motion for reconsideration—another in a series of filings made

without conferring with the government, as required by Local Rules—is particularly egregious. It

does not concern a witness who is expected to testify in this case. Instead, the witness’s testimony

was relevant to a defendant who pled guilty several weeks ago. The lawyer for that defendant

made no claim of government misconduct. To the contrary, after investigating the contention in

the email attached to the defendants’ motion—including by asking the government about it, which

counsel for Defendants Abdelaziz and Wilson did not do—he thanked the government for its

“willingness to work with us through the various issues, and [its] patience throughout the process

. . . [and its] willingness to consider our views.” See Exhibit A.

       In any event, the claims set forth in the email attached to the defendants’ motion are false,

full stop. See Exhibit B. The defendants still do not, because they cannot, contend that the

government has intimidated or harassed any witness they have tried to call. To the contrary, when

the defendants requested the government’s assistance in subpoenaing a witness, the government
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promptly assisted, once again prompting defense counsel to thank the government “for helping

out.” See Exhibit C.

       For the foregoing reasons, the defendants’ motion for reconsideration should be denied.

                                                       Respectfully submitted,

                                                       NATHANIEL R. MENDELL
                                                       Acting United States Attorney

                                                   By: /s/ Stephen E. Frank
                                                      KRISTEN A. KEARNEY
                                                      LESLIE A. WRIGHT
                                                      STEPHEN E. FRANK
                                                      IAN J. STEARNS
                                                      Assistant United States Attorneys



                                  CERTIFICATE OF SERVICE

       I hereby certify that this document, filed through the ECF system, will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing.

       Dated: September 7, 2021                        /s/ Stephen E. Frank
                                                       STEPHEN E. FRANK




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